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                                                                                       FILED
                        1N THE UNITED STATESDISTRICT COURT                            SEP 1 9 201]
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION
                                                                                  C    K   U.
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                                                                                                DISTRICT CLERK



DAVID BOYD,                                      §
        Plaintiff                                §
                                                 §
v.                                               §       CIVIL ACTION NO. 5:17-cv-00123-XR
                                                 §
NATIONWIDE PROPERTY & CASUALTY                   §
INSURANCE COMPANY and                            §
RYAN CURTIS,                                    §
     Defendants.                                §

     ORDER GRANTING AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        Came to be considered the Agreed Stipulation of Dismissal with Prejudice urged by

Plaintiff David Boyd and Defendant Nationwide Property and Casualty Insurance Company. The

Court, having read the Agreed Stipulation, is of the opinion that the Stipulation should be, and

hereby is, GRANTED.

        IT IS THEREFORE ORDERED that all claims made in this lawsuit are hereby dismissed

with prejudice to re-filing, and that this matter is CLOSED.

               Signed this       day of              ,   2017.




                                             UNITED STATES DISTRICT JUDGE
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